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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

In re:                                                              )          Chapter 11
                                                                    )
RTI HOLDING COMPANY, LLC, et al.,1                                  )          Case No. 20-12456 (JTD)
                                                                    )
           Debtors.                                                 )

                                          NOTICE OF APPEARANCE AND
                                        REQUEST FOR SERVICE OF PAPERS

           PLEASE TAKE NOTICE that Grace Berman (the “Claimant”) herby demands, pursuant

to section 1109(b) of title 11 of the United States Code (the “Bankruptcy Code”) and Rules 2002,

9007 and 9010 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), that all

notices given in these cases and all papers served or required to be served in this case, be given to

and served upon the undersigned counsel, at the addresses set forth below. E-mail addresses are

included and notice by e-mail is affirmatively acknowledged as being acceptable.

                  Allen S. McConnaughhay, Esq.                             Julia B. Klein, Esq.
                  Fonvielle Lewis Messer &                                 KLEIN LLC
                  McConnaughhay                                            225 W. 14th Street, Suite 100
                  3375-A Capital Circle NE                                 Wilmington, DE 19801
                  Tallahassee, Florida 32308                               klein@kleinllc.com
                  allen@wrongfullyinjured.com


           PLEASE TAKE FURTHER NOTICE that, pursuant to section 1109(b) of the

Bankruptcy Code, the foregoing demand includes not only the notices and papers referred to in the


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           The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are: RT Distributing, LLC
(6096); RT Denver Franchise, L.P. (2621); Detroit Franchise, LLC (8738): RT Finance, LLC (7242); RT FL Gift Cards, Inc. (2189); RT Florida
Equity, LLC, (7159); RT Franchise Acquisition, LLC (1438); RT Indianapolis Franchise, LLC (6016); RT Jonesboro Club (2726); RT KCMO
Franchise, LLC (7020); RT Kentucky Restaurant Holdings, LLC (7435); RT Las Vegas Franchise, LLC (4969) RT Long Island Franchise, LLC
(4072); RT Michiana Franchise, LLC (8739); RT Michigan Franchise, LLC (8760); RT Minneapolis Franchise, LLC, (2746); RT Minneapolis
Holdings, LLC, (7189); RT New England Franchise, LLC (4970); RT New Hampshire Restaurant Holdings, LLC, (7438); RT New York Franchise,
LLC, (1154); RT of Carroll County, LLC, (8836); RT of Fruitland, Inc., (1103); RT of Maryland, LLC, (7395); RT Omaha Franchise, LLC, (7442);
RT Omaha Holdings, LLC, (8647); RT One Percent Holdings, LLC, (6689); RT One Percent Holdings II, LLC (2817); RT Orlando Franchise, LP,
(5105); RT Restaurant Services, LLC (7283); RT South Florida Franchise, LP (3535); RT Southwest Franchise, LLC, (9715); RT St. Louis
Franchise, (6010); RT Tampa Franchise, LP, (5290); RT West Palm Beach Franchise, LP, (0359); RT Western Missouri Franchise, LLC, (6082);
RTBD, LLC, (6505); RTT Texas, Inc., (2461); RTTA, LP, (0035); RTTT, LLC, (9194); Ruby Tuesday of Alleghany County, Inc., (8011); Ruby
Tuesday of Bryant, Inc., (6703); Ruby Tuesday of Columbia, Inc., (4091); Ruby Tuesday of Frederick, Inc., (4249); Ruby Tuesday of Linthicum,
Inc., (8716); Ruby Tuesday of Marley Station, Inc., (1641); Ruby Tuesday of Pocomoke City, Inc., (0472); Ruby Tuesday of Russellville, Inc.,
(1601); Ruby Tuesday of Salisbury, Inc., (5432); Ruby Tuesday, Inc., (5239); and Ruby Tuesday, LLC, (1391). The Debtors' corporate headquarters
and the mailing address is 10300 SW Allen Blvd., Beaverton, OR 97005.
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Bankruptcy Rules specified above, but also includes, without limitation, any notice, order,

application, complaint, demand, motion, petition, pleading or request, whether formal or informal,

written or oral, and whether transmitted or conveyed by mail, hand delivery, telephone, or

otherwise filed or made with regard to the referenced case and proceedings therein.

       PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and Request for

Service of Papers is neither intended as nor is it a consent of Claimant’s to jurisdiction of the

Bankruptcy Court nor, specifically but not limited to, a waiver of Claimant’s: (i) right to have final

orders in non-core matters entered only after de novo review by a higher court; (ii) right to trial by

jury in any proceeding so triable herein or in any case, controversy or proceeding related hereto;

(iii) right to have the reference withdrawn in any matter subject to mandatory or discretionary

withdrawal; or (iv) other rights, claims, actions, defenses, setoffs, or recoupments to which

Claimant is or may be entitled under agreements, in law, or in equity, all of which rights, claims,

actions, defenses, setoffs, and recoupments are expressly reserved.

Dated: December 23, 2020                              KLEIN LLC
       Wilmington, Delaware
                                                      /s/ Julia B. Klein
                                                      Julia B. Klein (No. 5198)
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                                                      Wilmington, Delaware 19801
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                                                      and

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                                                      Attorneys for Claimant
